Case 3:21-cv-01980-CAB-JLB Document 4-2 Filed 11/23/21 PageID.93 Page 1 of 3



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 13

 14                        UNITED STATES DISTRICT COURT

 15               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 16
      PFIZER INC.,                             Civil Action No. 3:21-cv-1980-CAB-JLB
                                                                ___________________
 17
                             Plaintiff, DECLARATION OF ASHOK
 18                                     RAMANI IN SUPPORT OF
            - against -                 PLAINTIFF’S MOTION FOR A
 19                                     TEMPORARY RESTRAINING
    CHUN XIAO LI and DOES 1-5,
 20
                                        ORDER AND PRELIMINARY
                          Defendants. INJUNCTION
 21                                             Redacted
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                                            DECL. OF A. RAMANI ISO TRO & PRELIM. INJ.
Case 3:21-cv-01980-CAB-JLB Document 4-2 Filed 11/23/21 PageID.94 Page 2 of 3



  1   I, Ashok Ramani, declare as follows pursuant to 28 U.S.C. § 1746:
  2         1.     I am an attorney admitted to practice before this Court and a partner
  3   with Davis Polk & Wardwell LLP, counsel for Plaintiff Pfizer Inc. in the above-
  4   captioned action. I am familiar with the facts set forth herein and submit this
  5   Declaration in support of Plaintiff’s Motion for a Temporary Restraining Order and
  6   Preliminary Injunction pursuant to Fed. R. Civ. P. 65(a)–(b) and 18 U.S.C.
  7   § 1836(b)(3)(A), dated November 22, 2021. If called as a witness, I could and
  8   would testify to such facts under oath.
  9         2.     Attached hereto as Exhibit 1 is a true and correct copy of the
 10   Confidentiality, Non-Solicitation and Assignment of Inventions Agreement
 11   between Pfizer and Defendant Chun Xiao (Sherry) Li, dated August 22, 2016.
 12         3.     Attached hereto as Exhibit 2 is a true and correct copy of the Mutual
 13   Arbitration and Class Waiver Agreement between Pfizer and Ms. Li.
 14         4.     Attached hereto as Exhibit 3 is a true and correct copy of a September
 15   24, 2021 Pfizer presentation titled “E2E Clinical Development + Submissions
 16   Playbook.”
 17         5.      Attached hereto as Exhibit 4 is a true and correct copy of a February
 18   21, 2021 Pfizer presentation titled “Pfizer Oncology Virtual Hematology Franchise
 19   Year Beginning Meeting.”
 20         6.     Attached hereto as Exhibit 5 is a true and correct copy of a July 6,
 21   2021 Pfizer “Clinical Development Plan Document.”
 22         7.     Attached hereto as Exhibit 6 is a true and correct copy of a February
 23   20, 2019 Pfizer presentation titled “Avelumab Case Study – Implementation of
 24   BLRM in Oncology Dose Finding Trials with Multiple Drug Combinations.”
 25                         Certification Regarding Ex Parte Motion
 26         8.     Under Federal Rule of Civil Procedure 65(b)(1) and Local Civil Rule
 27   83.3(g)(2), I certify that the Court should not require Pfizer to provide notice of its
 28   Motion to Ms. Li. I am not aware of Ms. Li having retained counsel to represent

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                                             DECL. OF A. RAMANI ISO TRO & PRELIM. INJ.
Case 3:21-cv-01980-CAB-JLB Document 4-2 Filed 11/23/21 PageID.95 Page 3 of 3



  1   her in connection with Pfizer’s claims or Pfizer’s investigation of her conduct, and
  2   I understand that Ms. Li is not herself a lawyer.
  3         9.     If Pfizer were to give notice to Ms. Li, her conduct over the past few
  4   weeks poses a substantial risk that she destroys evidence relevant to Pfizer’s
  5   claims. As a third-party forensic analysis revealed, prior to making available for
  6   inspection a laptop and external hard drive that she contended contains Pfizer files,
  7   hundreds of documents from the external hard drive were deleted. Clarke Decl. ¶
  8   16. And instead of providing the computer that she used to transfer Pfizer files to
  9   her external hard drive, Ms. Li provided Pfizer with a different laptop that a third-
 10   party forensics analysis reveals was not in use during the relevant times. Id. ¶ 15.
 11   In addition, Ms. Li has refused to disclose the identity of her new employer or
 12   speak with Pfizer personnel again despite Pfizer’s recent requests for a meeting.
 13   Smith Decl. ¶ 12. Pfizer thus reasonably believes that, without a court order
 14   compelling compliance, there is a substantial and imminent risk that Ms. Li would
 15   delete additional documents or dispose of accounts or devices and other evidence
 16   upon receiving advance notice of this action.
 17         I declare under penalty of perjury under the laws of the United States that
 18   the foregoing is true and correct.
 19         Executed on: November 22, 2021
 20                        San Diego, California.
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 22
                                                    s/ Ashok Ramani
                                                    Ashok Ramani
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                                             DECL. OF A. RAMANI ISO TRO & PRELIM. INJ.
